
The Supreme Court affirmed the judgment of the Common Pleas, on 30th March, 1885, in the following opinion:
Per Curiam.
We have examined all the specifications of error, and given this case a careful consideration. It would have been clear error, if the Court had permitted the jury to find that the business of selling stocks for .customers was a necessary incident of the banking business. It did charge substantially that á recovery could be had, if the weight of the evidence satisfied them the • officers of the bank knew the cashier in the name of the bank was so engaged in the business of buying or selling them. This is all the plaintiff had a right to demand ; Bank of Allentown vs. Hoch, 8 Norris 324. In the present case the evidence shows that the cashier did not assume to act in behalf of the bank, in making sales of the stocks in question, but acted in his individual capacity, and the bank never received the proceeds of the sale. The plaintiffs testator was a director of the bank and must be assumed to have known, what the jury has found as a fact, that the cashier was not authorized by the bank to sell stock. Having trusted to his individual responsibility the plaintiff cannot make the bank liable for the misconduct of his agent.
Judgment affirmed.
